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                       EXHIBIT A
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                                                        Marilyn Burgess - District Clerk Harris County
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